Use TabCase
        key to move from field to field
             1:17-cr-00232-EGS          on this 236
                                    Document    form. Filed 07/10/20 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:17-cr-00232


Michael T. Flynn
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED            9     FEDERAL PUBLIC DEFENDER



                                                                 (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Abigail C. Frye- Georgia Bar #975681
                                                        (Attorney & Bar ID Number)
                                          Harvey & Binnall PLLC
                                                                (Firm Name)
                                          717 King Street Suite 300
                                                              (Street Address)
                                          Alexandria               VA             22314
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                                          (703) 888 - 1943
                                                             (Telephone Number)
